                          Exhibit F




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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Yellow Cab Cooperative, Inc.                                                                                   U.S. Bankruptcy Court
                                                                                                                      Northern District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             2/27/2017
 United States Bankruptcy Court           Northern District of California                                              Edward J. Emmons, Clerk
 Case number: 16−30063


Official Form 410
Proof of Claim                                                                                                                                          04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            7694 Suncountry Lane
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               7694 Suncountry Lane

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  William Morrow
                                  7694 Suncountry Ln
                                  Sacramento, CA 95828


                                  Contact phone               4153506392                         Contact phone

                                  Contact email      music2infinity@comcast.net                  Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      35000.00                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                        Madalion fee


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on          No
   a lease?                        Yes. Amount necessary to cure any default as of the date of the                            $
                                   petition.                                                                                      35000.00

11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $2,850* of deposits toward purchase, lease, or rental of                    $
    lawl imits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $12,850*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                2/27/2017

                                                                 MM / DD / YYYY


                                 /s/ William Morrow

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        William Morrow

                                                                            First name       Middle name         Last name
                                 Title                                       Yellow cab TPC member

                                 Company                                     Yellow Cab TPC

                                                                            Identify the corporate servicer as the company if the authorized agent is a
                                                                            servicer
                                 Address                                     7694 Suncountry Lane

                                                                            Number Street
                                                                             Sacramento, CA 95828

                                                                            City State ZIP Code
                                 Contact phone             4153506392                           Email         music2infinity@comcast.net


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